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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

DR. VALENTIN GAPONTSEV and
IPG PHOTONICS CORPORATION

               Plaintiffs,
                                                                  Civil Action No.
                                                               1:18-cv-2826-RC-GMH
v.

UNITED STATES DEPARTMENT OF THE
TREASURY and THE HONORABLE STEVEN
MNUCHIN,

               Defendants.


  JOINT MOTION TO STAY PROCEEDINGS FOR THREE YEARS AND FOR
DISMISSAL THEREAFTER AND NOTICE OF WITHDRAWAL OF ALL OTHER
                      PENDING MOTIONS


       Plaintiffs, Dr. Valentin Gapontsev and IPG Photonics Corporation, and Defendants,

the United States Department of the Treasury and the Honorable Steven Mnuchin, Secretary

of the Treasury (the “Parties”), respectfully move for an order staying and administratively

closing the above-captioned proceeding (the “Proceeding”) until the earlier of September

11, 2022, or the Court lifts the stay at the request of either of the Parties. 1 The parties

further request that on September 11, 2022, the conclusion of the stay’s three-year period,

the Court dismiss the Proceeding with prejudice, with each side to bear their own costs and

fees, provided that the Court did not lift the stay before then.

       The Parties file this motion pursuant to an agreement that they reached to resolve

this litigation during the course of the Court-ordered mediation. See Dkt. 30; see also


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  The parties agree that if Defendants do not consent to a request by Plaintiffs to lift the
stay, Defendants may file with the Court an opposition to such a request within three
business days of Plaintiffs filing such a request with the Court.
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Minute Entries for proceedings held before Magistrate Judge G. Michael Harvey on May

23, 2019, June 25, 2019, June 27, 2019, Aug. 29, 2019; Dkts. 32, 33, 34, 35 (joint status

reports regarding the status of mediation). In furtherance of this resolution, the Parties

signed a settlement agreement dated September 11, 2019. The agreement, among other

things, sets forth the condition under which either party may seek to lift the stay and the

accommodations provided by the Defendants and the Plaintiffs.

       The Parties further hereby withdraw all other pending motions, including Plaintiffs’

Motion for a Preliminary Injunction, Dkt. 12, and Defendants’ Motion to Dismiss, Dkt. 22.

       The Parties also stipulate, subject to the Court’s permission, that, if the stay is lifted

during the three-year period, these pending motions may at the request of either party be

restored to the docket as currently briefed, to be followed 14 days thereafter by a

supplementary brief by each party addressing the effect of the intervening factual and legal

developments occurring since the original briefing of the motions.

                                       CONCLUSION

       The Parties respectfully request the Court (1) stay the Proceeding until the earlier of

September 11, 2022, or the Court lifts the stay at the request of either of the Parties,

(2) dismiss the Proceeding with prejudice on September 11, 2022, with Plaintiffs and

Defendants to bear their own costs and fees, provided that the Court did not lift the stay

before then, and (3) order that should the Court lift the stay, either of the Parties may restore

to the docket the motion for preliminary injunction or motion to dismiss withdrawn by the

instant filing, to be followed by a supplementary brief by each of the Parties addressing

intervening legal and factual developments filed 14 days thereafter, and that the motions will

then be considered ready for decision.


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Dated: September 11, 2019             Respectfully submitted,

                                      /s/ Michael J. Edney
                                      Michael J. Edney, DC Bar No. 492024
                                      Stephen M. McNabb, DC Bar No. 367102
                                      NORTON ROSE FULBRIGHT US LLP
                                      799 9th Street, NW, Suite 1000
                                      Washington, DC 20001-4501
                                      Telephone: (202) 662-0200
                                      Fax: (202) 662-4643
                                      michael.edney@nortonrosefulbright.com

                                      Attorneys for Plaintiffs Dr. Valentin
                                      Gapontsev and IPG Photonics Corporation


                                      JOSEPH H. HUNT
                                      Assistant Attorney General

                                      DIANE KELLEHER
                                      Assistant Director, Federal Programs
                                      Branch

                                      /s/ Kevin Snell
                                      KEVIN SNELL (N.Y. Bar)
                                      Trial Attorney
                                      Federal Programs Branch
                                      U.S. Department of Justice, Civil Division
                                      1100 L St. NW
                                      Washington, D.C. 20005
                                      Telephone: (202) 305-0924
                                      Fax: (202) 616-8460
                                      Email: Kevin.Snell@usdoj.gov

                                      Counsel for Defendants




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